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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


JENNIFER CONIDI, individually and on
behalf of all others similarly situated,
                                                        CASE NO. 1:23-cv-02765
                   Plaintiff,

         vs.

BEAUTY INDUSTRY GROUP OPCO, LLC
d/b/a LUXY HAIR CO., and DOES 1-10,
inclusive,

                   Defendant.




                                      NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1446(d), 28 U.S.C. § 1441, and the jurisdictional provisions of the

Class Action Fairness Act of 2005, codified at 28 U.S.C. §§ 1332(d)(2) and 1453(b) (“CAFA”),

Defendant Beauty Industry Group OPCO, LLC d/b/a Luxy Hair Co. (“Defendant” or “Luxy”)

hereby removes the above-captioned case from the Illinois Circuit Court of Cook County,

Chancery Division, to the United States District Court for the Northern District of Illinois, Eastern

Division. This Court has original jurisdiction over the action pursuant to the Class Action Fairness

Act of 2005 (“CAFA”). In support of this Notice of Removal, Luxy states as follows:

                                      NATURE OF THE CASE

         1.        On or about April 3, 2023, Plaintiff Jennifer Conidi (“Plaintiff”) commenced this

action by filing a Class Action Complaint and Demand for Jury Trial (“Complaint”) against

Defendant in the Circuit Court of Cook County, Illinois captioned Jennifer Conidi v. Beauty

Industry Group OPCO, LLC d/b/a Luxy Hair Co., Case No. 2023CH03204 (the “State Court




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Action”). Pursuant to 28 U.S.C. § 1446(a), a copy of the Complaint and all other pleadings that

are in the state court file and available to Defendant are attached hereto as Exhibit A.

         2.        The Class Action Complaint alleges six causes of action against Luxy for violations

of the Illinois Biometric Privacy Act (“BIPA”), 740 ILCS 14/1, et seq. (See Complaint ¶¶ 1, 46-

93).

         3.        The Class Action Complaint alleges that Luxy’s website contains a “Virtual Color

Match” tool (Complaint ¶ 26). Plaintiff allegedly used the “Virtual Color Match” tool on or about

February 7, 2023, which captured “Plaintiff’s biometric identifiers and/or biometric information”

without her consent. (Id. ¶ 31).

                                    TIMELINESS OF REMOVAL

         4.        This action was filed on April 3, 2023.

         5.        Removal is timely pursuant to 28 U.S.C. Section 1446(b) because this Notice is

filed within thirty days after service of the Summons and Complaint upon Luxy or when Luxy

received the Complaint after it was filed on April 3.

                                                 VENUE

         6.        Venue is proper in this Court because Plaintiff filed this matter in the Circuit Court

of Cook County, Illinois, which lies within the Northern District of Illinois. See 28 U.S.C. §§

84(b), 1441(a).

          JURISDICTION PURSUANT TO THE CLASS ACTION FAIRNESS ACT

         7.        A defendant has a right to remove a state court action to a federal district court

where the district has original jurisdiction over the action. See 28 U.S.C. § 1441.This Court has

jurisdiction of this action under CAFA. See 28 U.S.C. § 1332(d)(2). CAFA extends federal

jurisdiction to all putative class actions in which: (a) there are one hundred (100) or more members



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of the putative class; (b) there is minimal diversity, i.e., at least one (1) member of the proposed

class is a citizen of a state different from any defendant; and (c) the aggregated claims of the

individual class members exceed the sum or value of $5,000,000.00. See 28 U.S.C.§§ 1332(d)(2)

& (d)(6). Based on the allegations in Plaintiff’s complaint, which Luxy expressly denies, this case

satisfies these requirements.

         8.        The Supreme Court has held that, in evaluating removal pleadings to determine if

CAFA jurisdiction is established, district courts should “apply the same liberal [pleading] rules”

as would pertain to other pleadings. Roberson v. Maestro Consulting Services, LLC, 507

F.Supp.3d 998, 1011 (S.D. Ill. 2020) (internal citations omitted).

         A.        This Case Is a “Class Action” Which, As Pled, Involves More Than 100
                   Putative Class Members

         9.        For purposes of § 1332(d), a “class action” is defined as “any civil action filed in a

district court of the United States under rule 23 of the Federal Rules of Civil Procedure or any civil

action that is removed to a district court of the United States that was originally filed under a State

statute or rule of judicial procedure authorizing an action to be brought by 1 or more representative

persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).

         10.       Pursuant to 28 U.S.C. § 1332(d)(5), CAFA requires that the class consists of at least

100 persons.

         11.       In the present case, Plaintiff purports to bring this action on behalf of:

                   “[a]ll individuals who were located in Illinois and whose biometric identifiers

                   and/or biometric information were captured, collected, obtained, stored, used,

                   disclosed, redisclosed, disseminated, transmitted, sold[,] leased, traded, or profited

                   from [or] by Defendants within five years prior to the filing of this lawsuit through

                   the date of class certification.”


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(Complaint ¶ 39).

         12.       Additionally, Plaintiff alleges that the members of the classes “are so numerous that

joinder of all members is impracticable” and that she “does not know the number of members in

the Class, but believes the members number in the thousands, if not more.” (See Complaint ¶¶ 40,

41(emphasis added)).

         B.        The Parties Are Diverse.

         13.       Defendant is a limited liability company, which is as an “unincorporated

association” for purposes of CAFA. Aliano v. Louisville Distilling Co., LLC, 115 F. Supp. 3d 921,

927 n.3 (N.D. Ill. 2015); see also Ferrell v. Express Check Advance of S.C. LLC, 591 F.3d 698,

700 (4th Cir. 2010) (“[A] limited liability company is an ‘unincorporated association’ as that term

is used in 28 U.S.C. § 1332(d)(10).”). Under 28 U.S.C. § 1332(d)(10), an unincorporated

association is a citizen of the State in which it has its principal place of business and of the State

under whose laws it is organized. 28 U.S.C. § 1332(d)(10).

         14.       As the Complaint alleges at paragraph 5, Defendant is a limited liability company,

organized under the laws of Utah and with a principal place of business in Salt Lake City, Utah.

Luxy is therefore a citizen of Utah. See 28 U.S.C. § 1332(d)(10).

         15.       CAFA requires only minimal diversity—at least one putative class member must

be a citizen of a state different than one defendant. 28 U.S.C. § 1332(d)(2)(A).

         16.       Here, many putative class members are citizens of the State of Illinois. Specifically,

Plaintiff “brings this action on behalf of herself and … [a]ll individuals who were located in Illinois

and whose biometric identifies and/or biometric information [as] captured…by Defendant. (Id., ¶

39.) “[A] person’s place of residence ... is prima facie proof of his domicile” for purposes of

jurisdiction. Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 571 (5th Cir. 2011); see State



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Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994); Gonzalez v. First NLC Fin.

Serv., 2009 WL 2513670, at *2 (C.D. Cal. Aug. 12, 2009).

         17.       Additionally, the putative class contains at least one putative class member who is

expressly identified as “an individual who was at all relevant times residing in Wheeling, Illinois,”

namely, Plaintiff Jennifer Conidi. (Complaint ¶ 4); see Mondragon v. Capital One Auto Finance,

736 F.3d 880, 886 (9th Cir. 2013) (“under CAFA, the jurisdictional allegations in the complaint

can be taken as a sufficient basis, on their own, to resolve questions of jurisdiction where no party

challenges the allegations. ...”); see also Hollinger, 654 F.3d at 571 (residence is prima facie proof

of domicile).

         18.       Because Defendant is a citizen of Utah, and because many putative class members

are citizens of Illinois, minimal diversity exists between the parties.

         C.        The Amount In Controversy Exceeds $5,000,000, Exclusive of Interest and
                   Costs.

         19.       For purposes of determining the amount in controversy in a class action under

CAFA, “the claims of the individual members shall be aggregated.” 28 U.S.C. § 1332(d)(6). While

Defendant vigorously disputes the validity of Plaintiff’s claims and allegations, including but not

limited to Plaintiff’s and the putative class’s entitlement to any damages, and, indeed, Defendant

asserts that neither Plaintiff nor any putative class member is entitled to any relief as a matter of

law, for purposes of determining whether federal jurisdiction exists, the aggregate amount in

controversy exceeds $5,000,000.00, exclusive of interest and costs. In a Notice of Removal, “a

defendant may rely on the complaint’s allegations…” Schutte v. Ciox Health, LLC, 28 F.4th 850,

854 (7th Cir. 2022). Furthermore, the ultimate inquiry depends on what amount is “in controversy”

by the plaintiff—not what a defendant will actually owe. Id. at 855-56.




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         20.       Here, based upon Plaintiff’s allegations and theories (which Luxy disputes, but

which control for removal purposes), the $5,000,000 amount in controversy requirement is

satisfied. Plaintiff’s prayer for relief seeks for Plaintiff, and for each member of the putative class,

statutory damages for violations of BIPA and punitive damages.

         21.       Under BIPA a person “aggrieved by a violation of this Act” may “bring an action

against an offending party”. 740 ILCS 14/20. For each violation, a person may bring an action and

recover:

                   (1) against a private entity that negligently violates a provision of this Act,

                   liquidated damages of $1,000 or actual damages, whichever is greater; [or]

                   (2) against a private entity that intentionally or recklessly violates a provision of

                   this Act, liquidated damages of $5,000 or actual damages, whichever is greater Id.

         22.       The Complaint does not quantify the number of alleged violations at issue or

otherwise quantify the total amount of damages sought. Plaintiff alleges asserts six causes of action

for negligent, and intentional and/or reckless violations of BIPA. Specifically, Plaintiff seeks

$1,000 in statutory damages for “each and every negligent violation” of 740 ILCS 14/15(a) (see

Complaint ¶ 52); $5,000 in statutory damages for “each and every intentional and/or reckless

violations” of 740 ILCS 14/15 (a) (see Complaint ¶ 60); $1,000 in statutory damages for “each and

every negligent violation” of 740 ILCS 14/15(b) (see Complaint ¶ 70); $5,000 in statutory damages

for “each and every intentional and/or reckless violations” of 740 ILCS 14/15 (b) (see Complaint

¶ 80); $1,000 in statutory damages for “each and every negligent violation” of 740 ILCS 14/15(c)

(see Complaint ¶ 86); $5,000 in statutory damages for “each and every intentional and/or reckless

violations” of 740 ILCS 14/15 (c) (see Complaint ¶ 92).




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         23.       The Complaint alleges Plaintiff “does not know the number of members in the

Class, but believes the members number in the thousands, if not more.” (See Complaint ¶ 41

(emphasis added)).

         24.       Thus, the amount in controversy far exceeds the $5,000,000 to satisfy CAFA’s

amount in controversy requirement (i.e., $1,000 in statutory damages per violation of 740 ILCS

14/15 (a) plus $5,000 in statutory damages per violation of 740 ILCS 14/15 (a) plus $1,000 in

statutory damages per violation of 740 ILCS 14/15 (b) plus $5,000 in statutory damages per

violation of 740 ILCS 14/15 (b) plus $1,000 in statutory damages per violation of 740 ILCS 14/15

(c) plus $5,000 in statutory damages per violation of 740 ILCS 14/15 (c), multiplied by 2,000

putative class members alone equals $36,000,000 for alleged violations of BIPA).

         25.       The exceptions to CAFA preventing removal do not apply here.

                                   NON-WAIVER OF DEFENSES

         26.       By this Notice of Removal, Defendant does not waive any defenses that may be

available, including, without limitation, Plaintiff’s failure to state a claim or any other defense.

         27.       By this Notice of Removal, Defendant does not admit any of the allegations in

Plaintiff’s Class Action Complaint.

                                            CONCLUSION

         28.       For all the foregoing reasons, the action is properly removed to this Court. See 28

U.S.C. § 1453. All of the CAFA jurisdictional requirements are met: (i) this action involves 100

or more putative class members; (ii) at least one putative class member is a citizen of a State

different from that of Luxy; and (iii) the aggregate amount in controversy exceeds $5,000,000,

exclusive of interest and costs. See 28 U.S.C. § 1332(d)(2).

         WHEREFORE, notice is hereby given that this action is removed from the Illinois Circuit



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Court of Cook County to the United States District Court for the Northern District of Illinois,

Eastern Division.

Dated: May 2, 2023                           Respectfully submitted,

                                                BEAUTY INDUSTRY GROUP OPCO,
                                                   LLC d/b/a LUXY HAIR CO.,


                                             By:        /s/Robert M. Andalman
                                                     One of Its Attorneys


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